          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 1 of 33
           UNREDACTED VERSION REFILED PURSUANT TO DKTS. 253, 320, 325-5
                        ORIGINALLY FILED AT DKT. 152-4
 1   Andrew Friedman (pro hac vice)
     Geoffrey Graber (SBN 211547)
 2   Julia Horwitz (pro hac vice)
 3   Karina G. Puttieva (SBN 317702)
     COHEN MILSTEIN SELLERS & TOLL PLLC
 4   1100 New York Ave. NW, Fifth Floor
     Washington, DC 2000
 5   Telephone: (202) 408-4600
     Facsimile: (202) 408-4699
 6
     afriedman@cohenmilstein.com
 7   ggraber@cohenmilstein.com
     jhorwitz@cohenmilstein.com
 8   kputtieva@cohenmilstein.com

 9   Eric Kafka (pro hac vice)
     COHEN MILSTEIN SELLERS & TOLL PLLC
10
     88 Pine Street, 14th Floor
11   New York, NY 10005
     Telephone: (212) 838-7797
12   Facsimile: (212) 838-7745
     ekafka@cohenmilstein.com
13
     Counsel for Plaintiffs and
14
     Proposed Class
15
     [Additional counsel on signature page]
16
                            UNITED STATES DISTRICT COURT FOR THE
17                            NORTHERN DISTRICT OF CALIFORNIA
18

19 DZ Reserve and Cain Maxwell (d/b/a Max            Case No.: 3:18-cv-04978
   Martialis) individually and on behalf of others
20 similarly situated,                               THIRD AMENDED CONSOLIDATED
                                                     CLASS ACTION COMPLAINT
21                          Plaintiffs,
                                                     DEMAND FOR JURY TRIAL
22
     v.
                                                     CLASS ACTION
23
     FACEBOOK, INC.,
24                                                   UNREDACTED VERSION OF
                            Defendant.               DOCUMENT SOUGHT TO BE
25                                                   SEALED
26

27

28
                        THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                        Case No.: 3:18-cv-04978
             Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 2 of 33



 1            Plaintiffs DZ Reserve and Cain Maxwell (d/b/a Max Martialis), individually and on behalf all

 2   others similarly situated, hereby file suit against Facebook, Inc., and allege the following:

 3                                             INTRODUCTION

 4            1.     Facebook, Inc. (“Facebook”) is a social media company that “generate[s] substantially

 5   all of [its] revenue from advertising.”1 In 2017, Facebook earned approximately $40 billion from

 6   advertising revenue.2

 7            2.     The core of Facebook’s business is its large purported user base, which ostensibly

 8   enables advertisements placed on Facebook.com to reach a large number of people. Facebook claims

 9   to have 2.13 billion monthly active users globally, with over 240 million monthly active users in the

10   U.S. alone.3

11            3.     Before advertisers make a purchase, Facebook represents that their advertisements can

12   potentially reach a specified number of people (“Potential Reach”). Facebook defines “potential reach”

13   as “an estimation of how many people are in an ad set’s target audience.”4 Depending on the

14   demographic targeting selected by the advertiser, the Potential Reach is often millions of people.

15   Facebook also represents that the advertisement will reach an estimated number of people per day

16   (“Estimated Daily Reach”). The Estimated Daily Reach is based, in part, on the audience size or

17   Potential Reach. According to Facebook, Estimated Daily Reach “gives you an idea of how many of

18   the people in your target audience [or Potential Reach] you may be able to reach on a given day.”5

19            4.     These foundational representations are false. Based on publicly available research and

20   Plaintiffs’ own analysis, Facebook overstates the Potential Reach of its advertisements. For example,

21   based on publicly available data, Facebook’s purported Potential Reach among the key 18-34 year-old

22   demographic in every state exceeds the actual population of 18-34 year-olds. Based on a combination

23
         1
24          Facebook, Inc., Annual Report (Form 10-K) for 2017 Fiscal Year, at 41 (Feb. 1, 2018).
         2
25          Id., at 43 (Feb. 1, 2018).
          3
            See Facebook’s Ads Manager, available at https://www.facebook.com/adsmanager/creation
26   (last accessed August 1, 2018)
27
         4
             See “About potential Reach”, available at https://www.facebook.com/adsmanager/creation
         5
            See What are “Potential Reach” and “Estimated Daily Reach?”, available at
28   https://www.facebook.com/business/help/717368264947302/?ref=u2u (last accessed August 1, 2018)
                                                         1
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 3 of 33



 1   of publicly available research and Plaintiffs’ own analysis, among 18-34-year-olds in Chicago, for

 2   example, Facebook asserted its Potential Reach was approximately 4 times (400%) higher than the

 3   number of real 18-34 year-olds with Facebook accounts in Chicago. Based on a combination of

 4   publicly available research and Plaintiffs’ own analysis, Facebook’s asserted Potential Reach in Kansas

 5   City was approximately 200% higher than the number of actual 18-54 year-olds with Facebook

 6   accounts in Kansas City. This inflation is apparent in other age categories as well.

 7          5.      Documents produced by Facebook in this litigation confirm that senior executives at the

 8   company knew for years that its Potential Reach metric was inflated – yet they failed to do anything,

 9   and even took steps to cover up the problem. As explained below, in late 2017 and throughout 2018,

10   Facebook executives repeatedly acknowledged Potential Reach was inflated and misleading due to,

11   among other reasons, the fact that Potential Reach includes duplicate and fake accounts. Facebook

12   failed to fix the problem, noting that “revenue impact is indeed significant.” Yet, as the product

13   manager for Potential Reach put it: “it’s revenue we should have never made given the fact it’s based

14   on wrong data.” Facebook’s conduct was – and remains – inexcusable. Because Facebook inflated its

15   Potential Reach, Plaintiffs and putative class members purchased more advertisements from Facebook

16   and paid a higher price for advertisements than they otherwise would have. Plaintiffs and putative class

17   members accordingly seek compensation and injunctive relief for violations of California’s UCL,

18   breach of the covenant of good faith and fair dealing, fraudulent misrepresentation, fraudulent

19   concealment, and for restitution and punitive damages.

20                                              JURISDICTION

21          6.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332(d)(2)

22   because this is a class action wherein the amount in controversy exceeds the sum or value of

23   $5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed class,

24   and at least one member of the class of Plaintiffs is a citizen of a state different from a Defendant.

25          7.      This Court has personal jurisdiction over Defendant Facebook, Inc., because Facebook,

26   Inc., is headquartered in California, and conducts business in the state of California.

27          8.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) because a substantial part

28   of the events or omissions giving rise to the claims occurred in, were directed to, and/or emanated from

                                                         2
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
             Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 4 of 33



 1   this District. Venue is also proper because Facebook’s terms of service require that claims be resolved

 2   “exclusively in the U.S. District Court for the Northern District of California or a state court located in

 3   San Mateo County….”6

 4                                                  PARTIES

 5            9.     Plaintiff DZ Reserve is a company incorporated and headquartered in the state of

 6   Colorado.

 7            10.    Plaintiff Cain Maxwell (d/b/a Max Martialis) is a citizen and resident of the state of

 8   Ohio.

 9            11.    Defendant Facebook, Inc., is incorporated in Delaware, and its principal place of

10   business is 1 Hacker Way, Menlo Park, CA 94025.

11                                        FACTUAL ALLEGATIONS

12            12.    Facebook is one of the largest social media companies in the world. It owns and operates

13   Facebook.com, as well as Instagram and the WhatsApp Messenger service.

14            13.    In 2017, Facebook saw its revenues from online advertisements reach approximately

15   $40 billion.7

16            14.    In marketing its online advertisement services, Facebook claims that more than 2 billion

17   people use Facebook every month.8 Additionally, in its Ads Manager, Facebook has claimed that 240

18   million of those active users are located in the United States.9

19            15.    Until approximately March 12, 2019, Facebook’s Potential Reach was based, at least in

20   part, on estimates of the number of people who were active users in the past month.10 After March 12,

21

22
         6
           Facebook, Statement of Rights and Responsibilities, https://www.facebook.com/terms (last
23   accessed: June 17, 2019).
         7
            Facebook, Inc., Annual Report (Form 10-K) for 2017 Fiscal Year, at 41 (Feb. 1, 2018), at 43.
24
         8
            Facebook, Inc., Annual Report (Form 10-K) for 2017 Fiscal Year, at 41 (Feb. 1, 2018), at 34.
25        9
            See Facebook’s Ads Manager, available at https://www.facebook.com/adsmanager/creation
     (last accessed August 1, 2018).
26
         10
             See Updates to Potential Reach, available at
27   https://www.facebook.com/business/help/567031670465069?helpref=faq_content (last accessed June
     14, 2019)
28
                                                         3
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 5 of 33



 1   2019, Potential Reach is based, at least in part, on how many people have been shown an ad on a

 2   Facebook Product in the past 30 days who match the respective advertiser’s desired audience and

 3   placement criteria.11

 4            16.    Facebook defines a Monthly Active User (MAU) as a “registered Facebook user who

 5   logged in and visited Facebook through [Facebook’s] website or a mobile device, or used [Facebook’s]

 6   Messenger application (and is also a registered Facebook user), in the last 30 days as of the date of

 7   measurement. MAUs are a measure of the size of our global active user community.”12

 8            17.    Audience size is an important factor when advertisers determine where to spend

 9   marketing dollars. Indeed, Potential Reach and Estimated Daily Reach are the only information

10   Facebook provides to advertisers regarding the anticipated performance of the ad campaign prior

11   purchasing an advertisement. Moreover, user inflation can skew an advertiser’s decision making,

12   which is frequently based on the anticipated reach of the advertising campaign, or “Potential Reach.”13

13            18.    Reach inflation can have “real consequences for an advertiser’s overall communications

14   plain.”14 For advertisers, “Facebook Ads Manager functions as a tool for an advertiser to plan, budget,

15   buy and optimize their own campaigns across Facebook platforms.”15

16            19.    Facebook’s large purported potential reach is widely acknowledged as one of the main

17   reasons that advertisers choose to purchase advertisements from Facebook.

18            20.    For example, an online advertising commentator recently noted that the large number of

19   people that can potentially be reached on Facebook is one of the four “reasons why you can’t ignore

20   Facebook advertising.”16

21
         11
22           Id.
         12
             Facebook, Inc., Annual Report (Form 10-K) for 2017 Fiscal Year, at 41 (Feb. 1, 2018), at 36
23
          13
             “Facebook Audience Inflation a Global Issue-Ad News Study”, AdNews (September 8, 2017)
24   available at http://www.adnews.com.au/news/facebook-audience-inflation-a-global-issue-adnews-
     study (visited July 16, 2018).
25        14
             Video Advertising Bureau, “Facebook’s Reach (on Reach), Miscalculations in the Age of
     Precision”, p. 19, September 2017, available at https://www.thevab.com/wp-content/uploads/2017
26   /09/Facebooks-Reach.pdf (accessed August 6, 2018).
         15
27            Id.
         16
              “4 Reasons Why You Can’t Ignore Facebook Advertising,” InstaPage (September 10, 2018)
28
                                                       4
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
           Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 6 of 33



 1             21.    Similarly, Aleksandar Radonjic, the Founder and Chief Growth Strategist at Evolving

 2   Digital (a digital marketing agency) explained in his blog post, “Why Facebook Has To Be Included in

 3   Your Marketing Plan” that “big brands understand the value of Facebook and are actively engaged with

 4   their customers. Small and medium-sized organizations have to do the same, even if you are a small

 5   local business because the potential reach is unmatched by any other social media platform.” (emphasis

 6   added).17

 7             22.    Moreover, Facebook itself encourages advertisers to refer to the Potential Reach after

 8   they have started an advertising campaign to determine the percentage of their target audience that they

 9   have reached.18

10   I.        Facebook’s Representations to Advertisers

11             23.    In describing the advantages of advertising on its website, Facebook tells advertisers

12   that “[t]wo billion people use Facebook every month.”19

13             24.    Facebook touts the reach of its platform, telling advertisers “Show your ads to more

14   people in more places. Improve your reach by running your ads across Facebook, Instagram, and

15   Audience Network.”20

16             25.    Facebook makes these representations when advertisers purchase advertisements from

17   Facebook, which they do through Facebook’s “Ads Manager.”

18             26.    The terms on the “Ads Manager” are part of Facebook’s contract with advertisers.

19             27.    The “Ads Manager” provides only two data points related to audience size, “Potential

20   Reach” and “Estimated Daily Results Reach.” The Estimated Daily Results Reach is derived in part

21   from the Potential Reach audience size. Facebook’s Estimated Daily Reach “gives you an idea of how

22

23   https://instapage.com/blog/4-reasons-facebook-advertising-cant-be-ignored (last accessed December
     19, 2018).
24        17
             “Why Facebook Has to Be Included in Your Marketing Plan,” Aleksandar Radonjic,
     http://www.evolving-digital.com/resources/Facebook-Marketing (last accessed December 19, 2018).
25
          18
             https://www.facebook.com/business/help/1639908612985580 (last accessed December 19,
26   2018).
          19
               Quoted from https://www.facebook.com/business/products/ads (accessed August 13, 2018).
27
          20
               Id.
28
                                                         5
                           THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                           Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 7 of 33



 1   many of the people in your target audience [or Potential Reach] you may be able to reach on a given

 2   day.”21

 3             28.   The Potential Reach and the Estimated Daily Results Reach are provided to every

 4   advertiser who purchases advertisements through Ads Manager, and are part of Facebook’s contract

 5   with advertisers.

 6             29.   On the “Ads Manager,” advertisers can target their advertisement to users of different

 7   demographics. See Figure 1. Using the demographic criteria on “Ads Manager,” advertisers can target

 8   people in various locations, age ranges, or genders.

 9   Figure 1

10

11

12

13

14

15

16

17

18

19

20

21

22             30.   Regardless of the demographic criteria used to target the advertisements, the “Ads

23   Manger” shows a graphic with the audience size based on the criteria that advertisers selected. See

24   Figure 2.

25

26

27
         21
             See What are “Potential Reach” and “Estimated Daily Reach?”, available at
28   https://www.facebook.com/business/help/717368264947302/?ref=u2u (last accessed August 1, 2018)
                                                        6
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 8 of 33



 1

 2   Figure 2

 3

 4

 5

 6

 7

 8

 9          31.     Below the audience size graphic, the “Ads Manager” states “Potential Reach: ________

10   people.” See Figure 2. The “Ads Manager” displays the “Potential Reach” statistic before the advertiser

11   purchasers the advertisement.

12          32.     Facebook consistently represents that the Potential Reach is a measurement of actual

13   people, not just accounts.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       7
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 9 of 33



 1            33.   The Ads Manager graphic displaying the Potential Reach and Estimated Daily Results

 2   Reach is shown on multiple consecutive pages on Ads Manager where advertisers input information

 3   before purchasing an advertisement. See Exhibit 1, Facebook’s Ads Manager.22 The Potential Reach

 4   and Estimated Daily Reach are included on the same page where advertisers set the budget and schedule

 5   for their advertisements:

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24            34.   When an advertiser clicks on the “i” icon next to the Potential Reach, Facebook’s
25   website states, “Estimates are based on the placements and targeting criteria you select and include
26

27
          Exhibit 1 to Plaintiffs’ Second Amended Consolidated Class Action Complaint is identical to
         22

28   ECF No. 66-3 (Exhibit C to Facebook’s Motion to Dismiss Consolidated Class Action Complaint).
                                                      8
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
         Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 10 of 33



 1   factors like Facebook user behaviors, user demographics and location data. They’re designed to

 2   estimate how many people in a given area could see an ad a business might run. They’re not designed

 3   to match population or census estimates. Numbers may vary due to performance reasons.” (emphasis

 4   added) See Figure 3.

 5          35.    Yet, Facebook fails to disclose to advertisers that its Potential Reach statistic is inflated.

 6
     Figure 3
 7

 8

 9

10

11

12

13

14

15

16

17
            36.    When an advertiser clicks on “Learn More” for potential reach, Facebook’s website
18
     states, “Potential reach is an estimation of how many people are in an ad set’s target audience…. It
19
     updates in real time as you create or edit your ad set to help you understand how your targeting and
20
     placement choices affect the number of people you could reach.” (emphasis added) See Figure 4.
21

22

23

24

25

26

27

28
                                                         9
                        THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                        Case No.: 3:18-cv-04978
           Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 11 of 33



 1

 2   Figure 4

 3

 4

 5

 6

 7

 8

 9
                37.    Facebook’s Advertiser Help Center states that the “Potential Reach is an estimation of
10
     the potential number of people your ads could reach.”23
11
     II.        Facebook’s Potential Reach is Inflated
12
                38.    According to Census data, the U.S. population numbered over 320 million individuals
13
     in 2017, with just over 250 million adults over 18 years old.24
14
                39.    Facebook represents to advertisers a Potential Reach of 230 million monthly active users
15
     over the age of 18 in the U.S.25
16
                40.    According to a 2018 survey from the Pew Research Center, 68% of U.S. adults, aged
17
     18 and over, use Facebook.26 Based on this 68% figure, only 170 million U.S. adults have a Facebook
18
     account. Thus, Facebook represents to advertisers that it has approximately 35% more users in the
19
     United States than it actually does.
20
                41.    Using the usage rate estimate provided by Pew Research Center, Facebook’s Potential
21
     Reach is inflated with respect to the 18 years and over demographic in the four largest states, as set
22

23
           23
             Quoted from https://www.facebook.com/business/help (accessed August 13, 2018).
24
           24
             See United States Census Bureau’s “American Fact Finder” available at
25   https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=PEP_2017_PEPA
     GESEX&prodType=table (last accessed August 1, 2018).
26        25
             See Facebook’s Ads Manager, available at https://www.facebook.com/adsmanager/creation
     (last accessed August 1, 2018)
27
           26
                Pew Research Center, March 2018, “Social Media Use in 2018”.
28
                                                          10
                            THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                            Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 12 of 33



 1   forth below:

 2                            Estimated                     Facebook’s
               State          Actual Facebook Users27       Claimed Reached28       Inflation Rate
 3
               California     20.7 million                  30 million              45%
 4
               Texas          14.2 million                  21 million              48%
 5             Florida        11.4 million                  16 million              40%
 6             New York       10.6 million                  16 million              50%

 7
              42.      Among the most important – if not the most important – demographic for advertisers is
 8
     the 18-34 year-old audience. This is because younger audiences are generally believed to have less
 9
     brand loyalty and more disposable income.29
10
              43.      Even more inflated is the key marketing demographic of young adults aged 18-34, where
11
     the U.S. population in 2017 numbered just under 76 million.30 Facebook represents to advertisers that
12
     it can reach 100 million people in this age category.31 Accordingly, Facebook claims that it can reach
13
     24 million more people in this demographic than actually exist. Additionally, according to Pew
14
     Research only 80% of this demographic actually use Facebook.32 Thus, only 61 million 18-34 year-
15
     olds are actually using Facebook, resulting in a nationwide inflation rate of 64%.
16
              44.      Nor can this discrepancy be explained by non-resident travelers. Facebook indicates that
17
     its Potential Reach among 18-34 year olds in the United States includes less than 2 million non-resident
18
     travelers. See Figure 5.
19

20

21       27
             These figures are based on the U.S. Census Bureau’s estimated demographic size and
22   accounting for the national average of Facebook participation as determined by Pew Research’s
     polling data of 68%.
23        28
             See Facebook’s Ads Manager, available at https://www.facebook.com/adsmanager/creation
     (last accessed August 1, 2018)
24       29
             See e.g., Weinman, Jaime J. (2012). “Television's mid-life crisis.” Maclean's. 125 (27): 72
25        30
             See United States Census Bureau’s “American Fact Finder”, available at
     https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=PEP_2017_PEPSY
26   ASEXN&prodType=table (last accessed August 1, 2018).
27
         31
             See Facebook’s Ads Manager, available at https://www.facebook.com/adsmanager/creation
     (last accessed August 1, 2018)
28        32
             Pew Research Center, March 2018, “Social Media Use in 2018”.
                                                          11
                            THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                            Case No.: 3:18-cv-04978
         Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 13 of 33



 1   Figure 5

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15
              45.    Publicly available research has shown that the Potential Reach for 18-34 year-olds is
16
     not only overstated at a national level but exceeds the U.S. Census Population Data in every state. See
17
     Figure 6.33
18

19

20

21

22

23

24

25

26

27
         33
28            Video Advertising Bureau Report, at 13.
                                                        12
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
         Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 14 of 33


     Figure 6
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
              46.    The difference between Facebook’s Potential Reach and U.S. Census Bureau statistics
15
     can be illustrated at the metropolitan level as well. For example, the following chart provides examples
16
     of the massive inflation of Facebook’s claimed Potential Reach in selected cities:
17
              47.    Other examples34 from September 2017 for the 18-34 year-old demographic include:
18
              City            18-34 year-old Census Pop.    Facebook’s Claimed Reach      Inflation Rate
19
              Dallas          379,567                       1,200,000                     216%
20            Houston         645,229                       1,800,000                     179%
              Los Angeles     1,125,300                     2,700,000                     140%
21            New York        2,305,171                     4,100,000                     78%
              Philadelphia    459,386                       1,100,000                     139%
22            Phoenix         410,220                       720,000                       76%
23            San Antonio     401,801                       690,000                       72%
              San Diego       434,646                       760,000                       75%
24            San Jose        256,343                       490,000                       91%

25
              48.    Because not every 18-34 year-old has a Facebook Account, the discrepancy between
26

27
         34
28            See Video Advertising Bureau Report, at 14.
                                                       13
                             THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                             Case No.: 3:18-cv-04978
            Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 15 of 33



 1   Facebook’s Potential Reach for the 18-34 year-old demographic and the Census Population does not

 2   capture the full extent to which Facebook’s Potential Reach is overstated.

 3               49.   For example, Plaintiffs commissioned their own survey to determine the percentage of

 4   18-34 years old in Chicago who have a Facebook account. The survey found that 59% of 18-34 year-

 5   olds in Chicago have Facebook accounts. In September 2017 in Chicago, Facebook’s Potential Reach

 6   was 1,900,000. However, the Census Population for 18-34 year-olds in Chicago was only 808,785.35

 7   Thus, based on this comparison alone, Facebook’s Potential Reach for 18-34 years old in September

 8   2017 was 2.35 times the Census Population.

 9               50.    The inflation of Facebook’s Potential Reach is even more dramatic when compared to

10   the survey. In 2017, based on the survey described above, approximately 485,000 actual Chicago

11   residents between 18-34 had Facebook accounts. Therefore, when Facebook represented that the

12   “Potential Reach” for this demographic was 1,900,000, it was almost 4 times that true number of people

13   potentially reached.

14               51.   A similar analysis reveals dramatic inflation of the Potential Reach number in Kansas

15   City. Among the 18-54-year-olds demographic in the Kansas City metropolitan area, Facebook claims

16   advertisements placed on its marketplace have the potential to reach 1.4 million people.36

17               52.   But the 18-54 demographic in the Kansas City metropolitan area only consists of

18   approximately 1 million people.37 And even then, based on survey data commissioned by the Plaintiff

19   only 70% of that demographic has Facebook accounts. This puts the inflation rate in Kansas City at

20   100%.

21   III.        Facebook’s User Base Inflation Is Material

22               53.   Advertising purchasers, including Plaintiffs DZ Reserve and Cain Maxwell, viewed the

23   “Potential Reach” as an important statistic because it means that more individuals could potentially

24
            35
25           Id.
26           See Facebook’s Ads Manager, available at https://www.facebook.com/adsmanager/creation
            36

     (last accessed August 1, 2018)
27           See United States Census Bureau’s “American Fact Finder”, available at
            37

     https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=DEC_10_SF1_QT
28   P2&prodType=table (last accessed August 1, 2018).
                                                        14
                            THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                            Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 16 of 33



 1   view their advertisement.

 2          54.     Facebook fails to disclose to advertisers that its Potential Reach statistic is inflated.

 3          55.     Plaintiffs DZ Reserve and Cain Maxwell read Facebook’s “Potential Reach” prior to

 4   purchasing advertisements from Facebook, and they relied on Facebook’s “Potential Reach” in making

 5   their decisions to purchase advertisements from Facebook.

 6          56.     Facebook’s misrepresentation of the Potential Reach of its advertisements induced

 7   advertising purchasers (including Plaintiffs DZ Reserve and Cain Maxwell) to purchase

 8   advertisements, which they otherwise would not have purchased, because purchasers (including

 9   Plaintiffs DZ Reserve and Cain Maxwell) believed that more people could potentially be reached by

10   their advertisements than possibly could have been.

11          57.     Facebook’s misrepresentation of the Potential Reach of its advertisements induced

12   advertising purchasers (including DZ Reserve and Cain Maxwell) to pay more for Facebook advertising

13   than they otherwise would have been willing to pay.

14          58.     Facebook’s misrepresentation of the Potential Reach of its advertisements thereby

15   distorted the market price for its advertising by artificially increasing the price of Facebook advertising,

16   causing advertising purchasers (including Plaintiffs DZ Reserve and Cain Maxwell) to pay more than

17   they otherwise would have paid.

18          59.     Facebook’s misrepresentation of the Potential Reach of its advertisements provided

19   Facebook with an unfair competitive advantage over other advertising platforms including other online

20   advertising platforms, such as YouTube, LinkedIn, and Twitter.

21                                     NEW FACTUAL ALLEGATIONS

22          60.     Facebook’s internal documents show that Facebook personnel knew for years that the

23   Potential Reach metric that it provides to Facebook advertisers on its advertisement purchasing

24   interfaces (including on Ads Manager and Power Editor) was inflated and misleading.

25          61.     Facebook’s internal documents show that Facebook personnel knew its Potential Reach

26   metric is a material representation that advertisers rely on. Internally, Facebook acknowledged in its

27   own official documents that advertisers “frequently rely” on Potential Reach:

28                  When creating advertising campaigns, advertisers frequently rely on the

                                                         15
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
         Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 17 of 33


                    estimated audience to understand the potential reach of their campaigns
 1                  and set the bid and budget strategy. Thus, this number is arguably the
                    single most important number in our ads creation interfaces. (emphasis
 2                  added).
 3          62.     Facebook employees acknowledged in internal documents that complaints about the
 4   Potential Reach being misleading have been made since approximately September 2015.
 5          63.     For example, in December 2016, the UK Advertising Standards Authority (UK ASA)
 6   complained to Facebook that the Potential Reach was misleading.
 7          64.     In the fall of 2017, the Video Advertising Bureau (VAB) published a report that alleged
 8   that Facebook’s Potential Reach was inflated and exceeded the Census numbers. This report was
 9   referenced in Plaintiffs’ Second Amended Complaint, and cited in ¶¶ 45-48 of the Third Amended
10   Complaint as the VAB Report (“Report.”)
11          65.     Senior Facebook officials struggled to respond to the publication of the Report.
12   Facebook employees conducted analysis comparing Facebook’s Potential Reach to US census statistics
13   and acknowledged internally that the Report has “the order of magnitude in inflation correct.” Among
14   the inflation identified by the Report, the Report found that Facebook’s Potential Reach exceeds the
15   number of 18-34 residents in every state. Cf. ¶ 46, Figure 6.
16          66.     In the fall of 2017, Facebook employees, including Facebook Chief Operating Officer
17   Sheryl Sandberg, acknowledged that they had known about the problems with Facebook’s Potential
18   Reach for years. Ms. Sandberg wrote:
19                  We spoke about this a long time ago many times. I thought we knew
                    about this but we also recognized that when the self-reporting data was
20                  so different than the census we knew we had to address it. I believe we
21                  still do.

22          67.     In response to Ms. Sandberg’s e-mail, a Facebook Vice President wrote to Ms. Sandberg

23   and Dave Wehner (Facebook’s Chief Financial Officer) that duplicate and fake accounts were a factor

24   in Facebook overreporting its Potential Reach metric and that Facebook had made a “a deliberate

25   decision” not to remove duplicate or fake accounts from the Potential Reach metric.

26          68.     Facebook’s failure to remove duplicate and fake accounts from its Potential Reach

27   metric makes the metric fundamentally misleading; Facebook represents that Potential Reach is

28   measurement of people (see ¶ 32) when Potential Reach is, at best, a measurement of accounts.
                                                       16
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 18 of 33



 1          69.     Facebook executives repeatedly acknowledged that duplicate accounts are “a major

 2   factor in our potential reach overestimation problem.”

 3          70.     Notwithstanding their own internal acknowledgement that Potential Reach was inflated,

 4   Facebook executives did nothing. Instead, Facebook took steps to obfuscate the issue, and even to

 5   cover it up.

 6          71.     First, instead of disclosing the inflation that it internally acknowledged, Facebook

 7   developed a set of talking points, by claiming, inter alia, that discrepancies between the census and its

 8   Potential Reach metric were due to travelers, and the fact that Potential Reach is not designed to match

 9   the census. Facebook never acknowledged externally what it admitted internally: that its Potential

10   Reach metric was inflated, and that the inflation was partly due to duplicate and fake accounts.

11          72.     Second, Facebook executives took steps to cover up the problem. Just prior to their

12   November 1, 2017 earnings call, Facebook discussed how to disclose that 10% of their MAUs were

13   duplicate accounts and that 2-3% of their MAUs were fake accounts. Because Potential Reach is based

14   on MAUs Facebook considered including another line on its earnings call about how it would update

15   its Potential Reach metric based on its updated calculation of the number of duplicate and fake accounts

16   in its MAU. However, Facebook CFO Dave Wehner declined to make this disclosure:

17                  There was talk of having another line on the call, around how we’ll work
                    these new updated estimates into our ads systems, but Dave review and
18                  declined. The context is that investors view Wehner’s prepared remarks
                    as a place to listen for risks to the business. Highlighting this as an
19                  advertiser issue spotlights this as a business risk for us, when it currently
                    is not.
20                  However if he is asked about reach and census he will answer: Going
21                  forward we are working on how our ad tools can better reflect our
                    updated duplicate accounts estimates (IF PRESSED: such as our
22                  advertising reach tools).

23          73.     Facebook CFO Dave Wehner never disclosed, on the earnings call or elsewhere, the

24   impact of duplicate and fake accounts in Facebook’s MAU on its Potential Reach calculation.

25          74.     Facebook’s internal documents show that Facebook employees had widespread

26   knowledge that Potential Reach is based on monthly active users. For example, Facebook employees

27   wrote, “The potential reach comes from the [system used to calculate Potential Reach] – it’s the MAU”

28   and that “Potential Reach reflects the number of monthly active users.”

                                                         17
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 19 of 33



 1            75.    However, in order to conceal that Potential Reach includes duplicate and fake accounts

 2   due to inflation in Facebook’s Monthly Active Users, Facebook obfuscated the close relationship

 3   between monthly active users and Potential Reach. Thus, Facebook Marketing Manager Amy Dunn

 4   told fellow marketing and sales employees, “It’s important to also remember that Potential Reach is not

 5   MAU but are estimates of people that ads may reach with a campaign. We have recently put out some

 6   messaging to help clarify that with advertisers.”

 7            76.    Facebook marketing employees were instructed to avoid discussing duplicate and false

 8   accounts with advertisers. For example, when a group of Facebook employees discussed how to

 9   respond to “advertisers [sic] questions on people numbers and measurement,” Marketing Manager Amy

10   Dunn reminded her fellow Facebook employees to exclude any messaging about duplicate or false

11   accounts:

12                   Additionally, just a polite reminder that we’ve been given guidance from
                     growth (Alex Schultz) that we should not include messaging about MAP
13                   [Monthly Active People38] and duplicate or false accounts outside of
                     earnings where these answers are addressed as there are a number of
14                   downstream implications.
15            77.    In early 2018, Facebook employees continued to debate whether to fix the Potential
16   Reach metric and whether to disclose the truth about the inflation of its Potential Reach.
17            78.    Facebook executives held no fewer than four major meetings in early 2018 to discuss
18   Potential Reach inflation. For example, on April 19, 2018, several senior employees met to discuss the
19   issue, including that Facebook could substantially reduce overestimation of Potential Reach with “age
20   modeling” and by removing duplicate accounts.
21            79.    By February 2018, Facebook had already conducted extensive analysis about how to
22   reduce the Potential Reach inflation:
23                   Launching age and [duplicate account] modeling in all top markets
                     would decrease overestimation by 49.1% …. There are 2 main sources
24
                     of overestimation: [1] users misrepresenting their age [and 2] users
25                   having multiple accounts.

26

27
         38
            Facebook’s Monthly Active People metric is also very similar to its Monthly Active Users
28   metric.
                                                         18
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 20 of 33



 1          80.     Yaron Fidler (the former Product Manager for Potential Reach) modeled the impact on

 2   Potential Reach if Facebook removed duplicate accounts from the Potential Reach. An analysis found

 3   that “people will drop ̴ 10% Globally.”

 4          81.     In March 2018, Fidler proposed a solution under which Facebook would (1) decrease

 5   age overestimation in Potential Reach and (2) remove duplicate accounts from Potential Reach.

 6   Facebook conducted an analysis and found that the proposed solution would negatively impact

 7   revenues.

 8          82.     Fidler highlighted that one the main of objections to the proposed solution was that

 9   Facebook stood to lose a significant amount of revenue. Fidler wrote:

10
                    Revenue impact is indeed significant. The question is how do we
11                  quantify the loss of advertiser trust? Also, in a way it’s revenue we
                    should have never made given the fact it’s based on wrong data.
12                  (emphasis added)
13          83.     But, before any corrections to the Potential Reach metric could be made – and the truth
14   disclosed – the decision had to be reviewed by the so-called “Central Metrics XFN” team, comprised
15   of “leadership across several product orgs, engineering, sales, legal, audit, finance, comms/pr, policy,
16   analytics, and more.” The mission of the Central Metrics XFN team is to “[p]rotect the trust of our
17   partners in external metrics, while minimizing the restriction of this on revenue or innovation.”
18   (emphasis added).
19          84.     On April 12, 2018, Fidler met with the “Central Metrics XFN” team to discuss making
20   corrections to the Potential Reach metric – but his proposals were rejected. Central Metrics XFN
21   participant (and Vice President of Growth Marketing & Analytics) Alex Schultz was particularly
22   aggressive in blocking Fidler’s proposed duplicate account fix. Schultz wrote that he “tried to stop it
23   there a few times and Yaron kept pushing.”
24          85.     Another Central Metrics XFN team member told Schultz that the team had treated Fidler
25   unfairly:
26                  Yaron and team have done a huge amount of data analysis on this, not
                    just averages but detailed distributions as well. Far more thorough IMHO
27                  than most presentations we see at Central Metrics….The status quo in
                    ads Reach estimation and reporting is deeply wrong, and our data
28                  analysis suggests [de-duplicating accounts] and Age Affinity would
                                                         19
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 21 of 33


                     dramatically improve things….I think we hung Yaron a bit out to dry
 1                   today.
 2            86.    In the summer of 2018, Facebook employees continued to express concern about
 3   Potential Reach inflation. As one Facebook employee wrote on July 12, 2018: “My question lately is:
 4   how long can we get away with the reach overestimation?”
 5            87.    In the summer of 2018, Mr. Fidler proposed to change the name of Facebook’s Potential
 6   Reach metric so that it would no longer include the words “people” or “reach” and instead make clear
 7   that the metric is based on “accounts.” Mr. Fidler wrote that this change “solves numbers accuracy –
 8   metrics description will be aligned with reality.” However, Mr. Fidler acknowledged that this would
 9   come at the “cost of losing the people based narrative.”
10            88.    Multiple Facebook employees agreed that “people-based marketing” was core to
11   Facebook’s value proposition and that it would thus “be costly to change to accounts…” The proposed
12   name change in the metric’s name was not implemented.
13            89.    No later than September 2018, Facebook employees also discovered another reason that
14   the Potential Reach was inflated: Potential Reach included users who were never served
15   advertisements. Facebook did not correct this problem until March 2019. Facebook’s March 2019
16   change caused the Potential Reach for ads targeted at United States users to drop 8 percent on average.
17            90.    Despite making this correction in March 2019, Facebook still failed to remove the
18   duplicate or fake accounts from Potential Reach calculation.
19            91.    As Mr. Fidler’s proposals continued to be rejected throughout 2018, he grew
20   increasingly frustrated. He wrote in October 2018 that Facebook’s Potential Reach calculation was “a
21   lawsuit waiting to happen.” Fidler further observed “this is just like video.” 39 Mr. Fidler left Facebook
22   late in 2018.
23            92.    As of March 3, 2020, Facebook still provides a Potential Reach metric to advertisers
24   that states that it measures a number of people. As of March 3, 2020, Facebook still has not removed
25   the fake and duplicate accounts from its Potential Reach calculation.
26

27
         39
            In late 2016, Facebook acknowledged that two of its video advertising performance metrics
28   were inflated.
                                                        20
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 22 of 33



 1                                     PLAINTIFFS’ EXPERIENCES

 2          93.     As noted above, Facebook’s Potential Reach is vastly inflated at the national, state,

 3   and local levels. Thus, the inflation impacted the Potential Reach and Estimated Reach of Plaintiffs’

 4   advertising campaigns on Facebook.

 5          DZ Reserve

 6          94.     Plaintiff DZ Reserve is a company incorporated and headquartered in Colorado.

 7          95.     Plaintiff DZ Reserve operates several e-commerce stores.

 8          96.     Between December 2017 and December 2018, Plaintiff DZ Reserve ran advertising

 9   campaigns on Facebook platforms (including Facebook and Instagram platforms).

10          97.     Over this time period, Plaintiff DZ Reserve paid Facebook approximately $ 1 million

11   dollars for Facebook advertisements.

12          98.     Plaintiff DZ Reserve read Facebook’s “Potential Reach” prior to purchasing

13   advertisements from Facebook, and Plaintiff DZ Reserve relied on Facebook’s “Potential Reach” in

14   making Plaintiff’s decision to purchase advertisements from Facebook.

15          99.     Plaintiff DZ Reserve read Facebook’s “Estimated Daily Results Reach” prior to

16   purchasing advertisements from Facebook, and Plaintiff DZ Reserve relied on Facebook’s “Estimated

17   Daily Results Reach” and in making Plaintiff’s decision to purchase advertisements from Facebook.

18          100.    Plaintiff DZ Reserve ran nationwide campaigns, as well as campaigns targeted at

19   specific cities, including, but not limited to, Los Angeles and New York City.

20          101.    Plaintiff DZ Reserve wishes and intends to purchase additional advertisements from

21   Facebook in the future. However, if Facebook continues to inflate its Potential Reach and Estimated

22   Daily Results Reach, it will be difficult for Plaintiff DZ Reserve to trust Facebook’s representations

23   about the Potential Reach and Estimated Daily Results Reach of Plaintiff’s Facebook advertisements

24   or other statistics provided by Facebook about Facebook advertisements.

25          Cain Maxwell

26          102.    Plaintiff Cain Maxwell (“Maxwell”), d/b/a Max Martialis, is a citizen and resident of

27   the state of Ohio.

28          103.    From approximately September 2018 to May 2019, Maxwell ran advertising campaigns

                                                       21
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 23 of 33



 1   on Facebook platforms (including the Facebook platform).

 2           104.    Over this time period, Maxwell paid Facebook approximately $ 400 for Facebook

 3   advertisements.

 4           105.    Plaintiff Maxwell read Facebook’s “Potential Reach” prior to purchasing

 5   advertisements from Facebook, and Plaintiff Maxwell relied on Facebook’s “Potential Reach” in

 6   making his decision to purchase advertisements from Facebook.

 7           106.    Plaintiff Maxwell read Facebook’s “Estimated Daily Results Reach” prior to purchasing

 8   advertisements from Facebook, and Plaintiff Maxwell relied on Facebook’s “Estimated Daily Results

 9   Reach” in making his decision to purchase advertisements from Facebook.

10           107.    Plaintiff Maxwell ran nationwide campaigns.

11           108.    Plaintiff Maxwell wishes and intends to purchase additional advertisements from

12   Facebook in the future. However, if Facebook continues to inflate its Potential Reach and Estimated

13   Daily Results Reach, it will be difficult for Plaintiff Maxwell to trust Facebook’s representations about

14   the Potential Reach and Estimated Daily Results Reach of Plaintiff’s Facebook advertisements or other

15   statistics provided by Facebook about Facebook advertisements.

16                                          CLASS ALLEGATIONS

17           109.    Plaintiffs re-alleges and incorporates by reference herein all of the allegations

18   contained above.

19           110.    Pursuant to the Federal Rule of Civil Procedure 23(b)(3), Plaintiff asserts claims on

20   behalf of the following “Class”: All persons or entities who, from January 1, 2013, to the present

21   (“Class Period”), had an account with Facebook, Inc., and who paid for placement of advertisements

22   on Facebook’s platforms, including the Facebook and Instagram platforms. Excluded from the Class

23   are Defendant, any entity in which Defendant has a controlling interest, and Defendant’s officers,

24   directors, legal representatives, successors, subsidiaries, and assigns. Also excluded from the Class is

25   any judge, justice, or judicial officer presiding over this matter and the members of their immediate

26   families and judicial staff.

27           111.    This action has been brought and may properly be maintained as a class action as it

28   satisfies the numerosity, commonality, typicality, adequacy, and superiority requirements of Rule

                                                         22
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 24 of 33



 1   23(b)(3). Plaintiffs seek to represent an ascertainable Class, as determining inclusion in the class can

 2   be done through Facebook’s own records.

 3          112.    Plaintiffs reserve the right to amend the Class definition if discovery and further

 4   investigation reveal that the Class should be expanded, divided into subclasses, or modified in any

 5   other way.

 6          113.    Although the precise number of Class members is unknown and can only be

 7   determined through appropriate discovery, Plaintiffs believe, and on that basis alleges, that the

 8   proposed Class is so numerous that joinder of all members would be impracticable as Facebook sells

 9   millions of advertisements annually to hundreds of thousands or even millions of advertisers.

10          114.    Questions of law and fact common to the putative Class predominate over questions

11   affecting only individual members, including inter alia:

12          a.      Whether Facebook made material misrepresentations about its advertising services,

13   including misrepresenting its Potential Reach; and

14          b.      Whether Facebook breached its contractual duty to perform competently and with

15   reasonable care by providing its inflated Potential Reach.

16          115.    Plaintiffs are members of the putative Class. The claims asserted by Plaintiffs in this

17   action are typical of the claims of the members of the putative Class, as the claims arise from the

18   same course of conduct by the Defendant and the relief sought is common.

19          116.    Plaintiffs will fairly and adequately represent and protect the interests of the members

20   of the putative Class, as their interests are coincident with, and not antagonistic to, the other members

21   of the putative Class.

22          117.    Plaintiffs have retained counsel competent and experienced in both consumer

23   protection and class action litigation. Plaintiffs’ counsel has experience litigating some of the largest

24   and most complex consumer class actions, including numerous consumer class actions in the

25   Northern District of California.

26          118.     Certification of the Class is appropriate pursuant to Fed. Rule of Civil Procedure

27   23(b)(3) because questions of law or fact common to the respective members of the Class

28   predominate over questions of law or fact affecting only individual members. This predominance

                                                         23
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 25 of 33



 1   makes class litigation superior to any other method available for the fair and efficient adjudication of

 2   these claims including consistency of adjudications. Absent a class action it would be highly unlikely

 3   that the members of the Class would be able to protect their own interests because the cost of

 4   litigation through individual lawsuits might exceed the expected recovery.

 5            119.   A class action is a superior method for the adjudication of the controversy in that it

 6   will permit a large number of claims to be resolved in a single forum simultaneously, efficiently, and

 7   without the unnecessary hardship that would result from the prosecution of numerous individual

 8   actions and the duplication of discovery, effort, expense, and the burden of the courts that individual

 9   actions would create.

10            120.   In the alternative, the Class should be certified pursuant to Federal Rule of Civil

11   Procedure 23(b)(2) because:

12               a. The prosecution of separate actions by the individual members of the proposed class

13                   would create a risk of inconsistent adjudications, which could establish incompatible

14                   standards of conduct for Facebook;

15               b. The prosecution of individual actions could result in adjudications, which as a

16                   practical matter, would be dispositive of the interests of non-party class members or

17                   which would substantially impair their ability to protect their interests; and

18               c. Facebook has acted or refused to act on grounds generally applicable to the proposed

19                   Class, thereby making appropriate final and injunctive relief with respect to the

20                   members of the proposed Class as a whole.

21                                    FIRST CAUSE OF ACTION
                               CALIFORNIA UNFAIR COMPETITION LAW,
22                              CAL. BUS. & PROF. CODE § 17200, et seq. 40
23
              121.   Plaintiffs re-allege and incorporate by reference herein all of the allegations contained
24
     above.
25
              122.   Facebook violated California’s Unfair Competition Law (UCL), Cal. Bus. & Prof.
26

27   40
        Pursuant to Facebook’s terms of service, the laws of the State of California govern “any claim” that
     arises between Facebook and its users, “without regard to conflict of law provisions.” Facebook,
28
                                                         24
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 26 of 33



 1   Code §17200 et seq., by engaging in the fraudulent and unfair business acts and practices alleged

 2   previously, and as further specified below.

 3          123.    Facebook’s misrepresentation of the Potential Reach of advertisements constitutes a

 4   fraudulent practice under the UCL, as it deceived Class members into believing that their

 5   advertisements could potentially reach more people than their advertisement could actually reach.

 6          124.    Facebook fails to disclose to advertisers the extent to which the Potential Reach

 7   statistic is inflated. This omission constitutes a fraudulent practice under the UCL, as it deceived

 8   Class members into believing that their advertisements could potentially reach more people than their

 9   advertisement could actually reach.

10          125.    Facebook’s failure properly to audit and verify the accuracy of its Potential Reach

11   statistics before disseminating them to Class members is unethical, unscrupulous, and substantially

12   injurious to advertising purchasers, and thus constitutes an unfair practice under the UCL. The harm

13   these practices caused to Plaintiffs and the Class members outweigh their utility, if any.

14          126.    Facebook should have known that its Potential Reach was inaccurate and inflated, and

15   had Facebook properly audited and verified its Potential Reach, it would have known that the

16   Potential Reach is inaccurate and inflated. The Potential Reach inflation would have been caught by

17   a reasonable auditing and verification process.

18          127.    Facebook’s failure to employ reasonable auditing and verification procedures gives it

19   an unfair competitive advantage, as it allowed Facebook to provide advertising services at a lower

20   cost and made those advertising services appear to be more effective than they were.

21          128.    Plaintiffs have standing to bring these claims under the UCL because they were

22   injured and lost money or property, including but not limited to money paid for Facebook

23   advertisements, as a result of Facebook’s fraudulent and unfair business practices. Among other

24   things, Plaintiffs would not have bought as much advertising services if Facebook had not

25   disseminated an inflated Potential Reach statistic, and Plaintiffs would have paid a lower price for the

26   advertising services they did purchase.

27

28   Statement of Rights and Responsibilities, https://www.facebook.com/terms (last accessed: June 17,
     2019).
                                                        25
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 27 of 33



 1            129.   Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs seek equitable relief to prevent

 2   the continued use of Facebook’s unfair and fraudulent practices and to restore to the Class all money

 3   Facebook may have acquired by means of its fraudulent and unfair business practices.

 4                                  SECOND CAUSE OF ACTION
                             QUASI-CONTRACT CLAIM FOR RESTITUTION
 5
              130.   Plaintiffs re-allege and incorporate by reference herein all of the allegations contained
 6
     above.
 7
              131.   Plaintiffs seek restitution in quasi contract, in the alternative, in the event that the trier
 8
     of fact ultimately determines that a contract did not exist between Plaintiffs and Facebook.
 9
              132.   Facebook’s inflated Potential Reach made advertising on its platform appear more
10
     effective and valuable than it really was—leading Plaintiffs and the Class to pay more money to
11
     Facebook for advertising services than they otherwise would have paid.
12
              133.   Facebook knew about, accepted, and benefited from Plaintiffs’ and Class members’
13
     purchase of these advertising services.
14
              134.   Under the circumstances, it would be inequitable for Facebook to benefit from its
15
     inaccurate and inflated Potential Reach calculation and its persistent failure to correct the error.
16
     To avoid injustice, Plaintiffs and the Class accordingly seeks restitution and/or disgorgement of
17
     profits in an amount to be proven at trial.
18
                                THIRD CAUSE OF ACTION
19             BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
20            135.   Plaintiffs re-allege and incorporate by reference herein all of the allegations contained
21   above.
22            136.   Plaintiffs and Class members contracted with Facebook to provide them with
23   advertising services.
24            137.   These contracts were subject to implied covenants of good faith and fair dealing that
25   all parties would act in good faith and with reasonable efforts to perform their contractual duties (both
26   explicit and fairly implied) and not to impair the rights of other parties to receive the rights, benefits,
27   and reasonable expectations under the contracts. These included the covenants that Facebook would
28   act fairly and in good faith in carrying out its contractual obligations to provide Plaintiffs and Class
                                                           26
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 28 of 33



 1   members with accurate Potential Reach and Estimated Daily Reach of Plaintiffs and Class members’

 2   advertising.

 3            138.   Facebook did not act in good faith and fair dealing to provide Plaintiffs and Class

 4   members with accurate Potential Reach and Estimated Daily Reach of Plaintiffs and Class members’

 5   advertising. For example, instead of implementing a reasonable process to ensure the accuracy of its

 6   Potential Reach and Estimated Daily Reach, Facebook primarily relied on ad hoc written complaints

 7   from Facebook users and ineffective algorithms to assure accuracy.

 8            139.   Plaintiffs and Class members met all or substantially all of their contractual

 9   obligations, including submitting their advertising for Facebook’s approval and paying for

10   Facebook’s advertising services.

11            140.   Facebook’s failure to act in good faith in providing accurate Potential Reach and

12   Estimated Daily Reach denied Plaintiffs and Class members the full benefit of their bargain. Plaintiffs

13   and Class members received advertising services that were less valuable than what they paid for and

14   less valuable than their reasonable expectations under the contracts. Plaintiffs and Class members

15   were damaged by an amount at least equal to this overpayment.

16            141.   Accordingly, Plaintiffs have been injured as a result of Facebook’s breach of the

17   covenant of good faith and fair dealing and are entitled to damages and/or restitution in an amount to

18   be proven at trial.
                                     FOURTH CAUSE OF ACTION
19                                FRAUDULENT MISREPRESENTATION
20            142.   Plaintiffs re-allege and incorporate by reference herein all of the allegations contained
21   above.
22            143.   Facebook falsely represents the Potential Reach of its advertisements. Because of
23   Facebook’s method of calculating Potential Reach, Potential Reach exceeds the number of people in
24   an advertisement set’s target audience.
25            144.   Facebook also falsely represents that Potential Reach is a measurement of people
26   when it is a measurement of accounts. Potential Reach is not a measurement of people because it
27   includes fake and duplicate accounts.
28            145.   Facebook either knew that the representations in paragraphs 148-149 were false or
                                                         27
                           THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                           Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 29 of 33



 1   Facebook made these representations recklessly and without regard for their truth. Facebook

 2   employees have received complaints about Potential Reach being misleading since September 2015.

 3   In the fall of 2017, Facebook senior executives, including Sheryl Sandberg, acknowledged that the

 4   Potential Reach needed to be fixed. In 2017 and 2018, Facebook executives repeatedly stated in

 5   internal communications that the Potential Reach was inflated, and that Potential Reach measured

 6   accounts rather people. Despite multiple meetings in 2017 and 2018 in which Facebook executives

 7   discussed fixing Potential Reach so that it would measure people and/or removing Potential Reach

 8   metric from its interfaces, Facebook continues to this day to provide an inflated Potential Reach

 9   metric that measures accounts rather than people.

10            146.   Facebook intended that Plaintiffs and Class members rely on its Potential Reach

11   metric. Facebook knew that its advertising customers “frequently rely” on Potential Reach, and that

12   this number is arguably the single most important number in our ads creation interfaces.”

13            147.   Plaintiffs and Class members did reasonably rely on Facebook’s Potential Reach

14   representations in paragraphs 148-149 when deciding whether they would purchase advertising from

15   Facebook and how much advertising to purchase from Facebook. As a result of Facebook’s

16   misrepresentations, Plaintiffs and Class members were harmed: Plaintiffs and Class members

17   purchased more advertising from Facebook than they otherwise would have and paid a higher price

18   than they would otherwise have.

19            148.   Plaintiffs seek an award of compensatory and punitive damages. Facebook’s conduct

20   as previously described constitutes oppression, fraud, or malice, and was authorized or ratified by

21   Facebook’s officers.
                                        FIFTH CAUSE OF ACTION
22                                    FRAUDULENT CONCEALMENT
23            149.   Plaintiffs re-allege and incorporate by reference herein all of the allegations contained
24   above.
25            150.   Facebook conceals from Plaintiffs and Class members that Facebook’s Potential
26   Reach metric is inflated and misleading, and conceals that it is inflated in part due to duplicate and
27   fake accounts in Facebook’s user base and MAUs. Facebook also conceals that Potential Reach is
28   calculated using accounts, not people.
                                                         28
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 30 of 33



 1          151.    In November 2017, Facebook CFO David Wehner declined to disclose the relationship

 2   between the duplicate and fake accounts in its MAU and the duplicate and fake accounts in

 3   Facebook’s Potential Reach.

 4          152.    Instead, Facebook created and disseminated a fiction: that MAU and Potential Reach

 5   are unrelated. Facebook has used this fiction to conceal that the Potential Reach metric includes

 6   duplicate and fake accounts.

 7          153.    Facebook has a duty to disclose to Plaintiffs and Class members that Potential Reach

 8   is inflated and misleading; that it includes duplicate and fake accounts; and that it is calculated based

 9   on accounts rather than people because Facebook has exclusive knowledge of these material facts.

10          154.    Facebook has a duty to disclose to Plaintiffs and Class members that Potential Reach

11   is inflated and misleading; that it includes duplicate and fake accounts; and that it is calculated based

12   on accounts rather than people because Facebook actively concealed these material facts from

13   Plaintiffs and Class members.

14          155.    Facebook has a duty to disclose to Plaintiffs and Class members that Potential Reach

15   is inflated and misleading; that it includes duplicate and fake accounts; and that it calculated based on

16   accounts rather than people because Facebook makes a partial representation by providing the

17   Potential Reach metric to Plaintiffs and Class members while also suppressing these material facts.

18          156.    Because of Facebook’s omissions and concealment, Plaintiffs and Class members did

19   not know when they purchased Facebook advertisements that the Potential Reach was inflated and

20   misleading; that it included duplicate and fake accounts; or that Potential Reach was calculated based

21   on accounts rather than people.

22          157.    Facebook intentionally concealed that Potential Reach is inflated and misleading; that

23   it includes duplicate and fake accounts; and that it is calculated based on accounts rather than people

24   with the intention of defrauding Plaintiffs and Class members.

25          158.    Plaintiffs and Class members would have acted differently had they known that

26   Potential Reach is inflated and misleading; that Potential Reach includes duplicate and fake accounts;

27   and that Potential Reach is calculated based on accounts rather than people. They would have

28   purchased fewer (if any) Facebook advertisements and they would have paid a lower price.

                                                        29
                         THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                         Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 31 of 33



 1           159.   As a result of Facebook’s concealment and omissions described in this complaint,

 2   Plaintiffs and Class members were harmed: Plaintiffs and Class members purchased more advertising

 3   from Facebook than they otherwise would have and paid a higher price than they would otherwise

 4   have.

 5           160.   Plaintiffs seek an award of compensatory and punitive damages. Facebook’s conduct

 6   as previously described constitutes oppression, fraud, or malice, and was authorized or ratified by

 7   Facebook’s officers.

 8

 9

10                                          PRAYER FOR RELIEF

11           WHEREFORE, Plaintiffs DZ Reserve and Cain Maxwell, on behalf of themselves and the

12   Class, seek the following relief:

13           A.     An order certifying this action as a class action under Fed. R. Civ. P. 23, defining the

14   Class as requested herein, appointing Geoffrey Graber of Cohen Milstein Sellers & Toll PLLC, as

15   Class Counsel, and finding that Plaintiffs are proper representatives of the Class requested herein.

16           B.     Plaintiffs request injunctive relief. Awarding injunctive and other equitable relief as is

17   necessary to protect the interests of the Class, including: (i) an order prohibiting Facebook from

18   engaging in the wrongful acts described herein; (ii) requiring Facebook to engage third-party auditors

19   to conduct audits and evaluations of Facebook’s purported user base and its Potential Reach, and

20   ordering them to promptly correct any problems or issues detected by these auditors, and (iii)

21   requiring Facebook to disclose any further inaccuracies with respect to its user base in a timely and

22   accurate manner.

23           C.     Plaintiffs also request damages, restitution, punitive damages, attorneys’ fees, statutory

24   costs, and such other and further relief as is just and proper. Plaintiffs seek attorneys’ fees under

25   California Code of Civil Procedure 1021.5.

26

27

28
                                                         30
                          THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                          Case No.: 3:18-cv-04978
          Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 32 of 33



 1                                            JURY TRIAL DEMAND

 2           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby demand trial by

 3   jury in this action of all issues so triable.

 4   DATED:          March 19, 2020                  Respectfully submitted,

 5                                                   By: /s/          Geoffrey Graber
                                                               Geoffrey Graber
 6

 7                                                   ANDREW N. FRIEDMAN (admitted pro hac vice)
                                                     afriedman@cohenmilstein.com
 8                                                   GEOFFREY GRABER (SBN 211547)
                                                     ggraber@cohenmilstein.com
 9                                                   JULIA HORWITZ (admitted pro hac vice)
                                                     jhorwitz@cohenmilstein.com
10
                                                     KARINA G. PUTTIEVA (SBN 317702)
11                                                   kputtieva@cohenmilstein.com
                                                     COHEN MILSTEIN SELLERS & TOLL PLLC
12                                                   1100 New York Ave. NW, Fifth Floor
                                                     Washington, DC 20005
13                                                   Telephone: (202) 408-4600
                                                     Facsimile: (202) 408-4699
14
                                                     Counsel for Plaintiffs and Proposed Class
15
                                                     ERIC KAFKA (admitted pro hac vice)
16                                                   ekafka@cohenmilstein.com
                                                     COHEN MILSTEIN SELLERS & TOLL PLLC
17                                                   88 Pine Street, 14th Floor
                                                     New York, NY 10005
18
                                                     Telephone: (212) 838-7797
19                                                   Facsimile: (212) 838-7745
                                                     ekafka@cohenmilstein.com
20
                                                     CHARLES REICHMANN (SBN 206699)
21                                                   Charles.reichmann@gmail.com
22                                                   LAW OFFICES OF CHARLES REICHMANN
                                                     16 Yale Circle
23                                                   Kensington, CA 94708-1015
                                                     Telephone: (415) 373-8849
24
                                                     MICHAEL RAPP (pro hac vice forthcoming)
25                                                   mr@kcconsumerlawyer.com
26                                                   STECKLEIN & RAPP
                                                     748 Ann Ave.
27                                                   Kansas City, KS 66101-3014
                                                     Telephone: (913) 703-5354
28
                                                          31
                           THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                           Case No.: 3:18-cv-04978
     Case 3:18-cv-04978-JD Document 332 Filed 07/20/21 Page 33 of 33


                                    REUBEN D. NATHAN (SBN 208436)
 1                                  rnathan@nathanlawpractice.com
                                    NATHAN & ASSOCIATES, APC
 2                                  2901 W. Coast Hwy., Suite #200
 3                                  Newport Beach, CA 92663
                                    Telephone: (949) 270-2798
 4                                  Additional Counsel for Plaintiffs

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                        32
                THIRD AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
                                Case No.: 3:18-cv-04978
